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                      UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

SECURITIES AND EXCHANGE                      )
COMMISSION,                                  )
                                             )
            Plaintiff,                       )     CIVIL ACTION FILE NO.
                                             )     1:13-CV-01817-WSD
      v.                                     )
                                             )
DETROIT MEMORIAL PARTNERS, LLC               )
and MARK MORROW,                             )
                                             )
            Defendants.                      )

          ORDER GRANTING RECEIVER’S FINAL FEE
  APPLICATION AND MOTION TO APPROVE FINAL DISTRIBUTION

      This matter is before the Court on the Receiver's Final Fee Application and

Motion to Approve Final Distribution (the “Motion”) to the claimants of Detroit

Memorial Partners, LLC (“DMP”) in the aggregate amount of $50,000. The Court

has considered the Motion and the Receiver’s prior Court-approved Distribution Plan

(See Docs. 166, 169, 175, 184-85), and it is hereby ORDERED AND ADJUDGED

that the Motion is GRANTED. The Receiver is authorized to (1) pay $1,471.51 to

the accounting firm McLean Koehler for tax return preparation; (2) pay $12,735.00 to

the Robbins Firm for attorneys’ fees; (3) make the final distribution to approved

claimants consistent with the Distribution Plan in the amounts set forth in Exhibit “5”
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to the Motion, and (4) use the remaining funds to administer the final distribution

payments and close the Receivership.

      SO ORDERED, this 13th day of October, 2020.




                                       ______________________________
                                       MARK H. COHEN,
                                       United States District Court Judge
